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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:
                                                              Chapter 11
 SkyFuel, Inc.,
                                                              Case No. 19-12400 (JGR)
                       Debtor.


                   UNITED STATES’ OBJECTION TO CONFIRMATION OF
                   THE PLAN OF REORGANIZATION FOR SKYFUEL, INC.

           The United States files this objection to the confirmation of the Plan of Reorganization

 for SkyFuel, Inc. (ECF No. 308) (the “Plan”) pursuant to 11 U.S.C. § 1129, and in support of its

 objection, respectfully states as follows:

                                               INTRODUCTION

           The proposed plan of reorganization for debtor SkyFuel, Inc. (“SkyFuel”) contains a

 number of problems that prevent confirmation. The United States objects to confirmation because

 the Plan (i) improperly eliminates United States’ setoff and recoupment rights, (iii) contains

 overbroad exculpation and third-party release provisions, and (iii) purports to allow the assumption

 and assignment of an agreement with the U.S. Department of Energy (“DOE”) without first

 obtaining DOE’s authorization to do so. Unless the Debtor resolves these problems before the

 confirmation hearing, the United States requests that the Court deny confirmation of the Plan. 1

                                                BACKGROUND

 I.       Factual Background

           1.     SkyFuel is a solar thermal power technology and equipment manufacturer. On


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  SkyFuel’s counsel provided the United States with an extension of the objection deadline to March 9, 2021. SkyFuel
 and the United States are continuing to negotiate language to be included in their proposed confirmation order; if
 SkyFuel and the United States reach agreement on this language, the United States will not object to the confirmation
 of the Plan.


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 October 1, 2018, SkyFuel and DOE’s Office of Energy Efficiency and Renewable Energy

 (“EERE”) entered an Assistance Agreement with Special Terms and Conditions (“Assistance

 Agreement”) to develop technology to reduce the levelized cost of heat from solar-thermal energy

 (the “Project”). See Ex. 1 (Assistance Agreement).

        2.      With EERE’s assistance and oversight, SkyFuel aimed to develop a novel,

 membrane-based, lightweight parabolic trough solar collector. In conjunction with the design of

 the collector, SkyFuel would design and integrate an associated heat transfer fluid delivery system

 and a low-temperature thermal energy storage system.

        3.      Under the terms of the Assistance Agreement, SkyFuel agreed to comply with

 federal law and “DOE Assistance Regulations,” including but not limited to 2 C.F.R. part 200 as

 amended by 2 C.F.R. part 910. See Ex. 1, at 4. These regulations require SkyFuel to obtain DOE’s

 authorization to continue the Project if SkyFuel planned to undergo any “change of control”—

 defined as “[a]ny event by which any individual or entity other than the recipient becomes the

 beneficial owner of more than 50% of the total voting power of the voting stock of the recipient,”

 among other definitions. 2 C.F.R. § 910.368.

        4.      The Assistance Agreement contemplated the completion of the Project in two

 phases (referred to as “Budget Periods”), with EERE contributing approximately 80 percent of

 funding for each phase, and SkyFuel contributing the remaining 20 percent. See Ex. 1, at Term

 27. Specifically:




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     Budget                EERE Cost Share,                            Recipient Cost Share        Total Estimated
     Period             including FFRDC 2 Costs                               $/%                       Costs
                    EERE $ / %         FFRDC $ / %
        1       $818,918 / 73.5%           $72,692 / 6.5%               $222,903 / 20%              $1,114,513
        2       $650,066 / 73.5%           $57,081 / 6.5%               $176,787 / 20%              $883,934
      Total     $1,468,984 / 73.5%         $129,773 6.5%                $399,690 / 20%              $1,998,447
     Project


           5.      The first Budget Period started on October 1, 2018 and was scheduled to end on

 September 30, 2019. Ex. 1, at 2. The second Budget Period was supposed to begin October 1,

 2019 and last until September 30, 2020. Id. At the end of the first Budget Period, EERE was

 entitled to “redirect or discontinue funding the Project based on the outcome of EERE’s evaluation

 of the Project at the Go/No Go decision point.” Id. at Term 6.

           6.      SkyFuel did not reach the second Budget Period. In the middle of the first Budget

 Period, EERE began having concerns about SkyFuel’s progress. It requested that SkyFuel submit

 a “Corrective Action Plan” to address those concerns. SkyFuel has yet to submit a sufficient

 Corrective Action Plan, or otherwise perform under the Assistance Agreement.

II.      SkyFuel’s Bankruptcy and Plan of Reorganization

           7.      On March 29, 2019, various creditors and two former SkyFuel employees filed an

 involuntary petition against SkyFuel under chapter 11 of the Bankruptcy Code. ECF No. 1.

 SkyFuel did not file a response to the petition, and the Court entered the order for relief on April

 23, 2019. ECF No. 8. SkyFuel filed a Schedule G, Executory Contracts and Unexpired Leases,

 on July 12, 2019. ECF No. 53. Skyfuel listed the Assistance Agreement on this schedule. Id.

           8.      At the end of 2019, SkyFuel filed a motion to sell substantially all its assets to a




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  FFRDC stands for Federally Funded Research Development Centers, which are operated by universities and
 corporations to fulfill certain long-term needs of the government which cannot be met as effectively by existing
 government or contractor resources.

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 winning bidder, and to assume and assign “Designated Contracts” to the winning bidder. See ECF

 No. 187. The motion did not define “Designated Contracts,” nor did it identify any potential

 bidders. On February 27, 2020, the Court ordered the motion to be held in abeyance. See ECF

 No. 225.

        9.     On January 29, 2021, SkyFuel ultimately filed a Plan of Reorganization and

 Disclosure Statement. ECF Nos. 308-309. Under the terms of the Plan, “Zhongxn Kaidi Electric

 Power Engineering Co., Ltd f/k/a China Kaidi Electric Power Engineering Co., Ltd., and/or its

 assignee” (defined in the Plan as “Kaidi”) would purchase 100 percent of the equity interests of

 SkyFuel (“Equity Sale”). See ECF No. 308, at 5, 10. Creditors with “Allowed Claims” would

 receive payment from the proceeds of the Equity Sale. Id.

        10.    The Plan further provides that all executory contracts, if not previously rejected or

 subject to a motion to reject, would be assumed “in accordance with the provisions and

 requirements of Sections 365 and 1123 of the Bankruptcy Code,” and that the entry of the

 Confirmation Order “shall constitute approval of such assumptions, and assumptions and

 assignments, pursuant to Sections 365(a) and 1123 of the Bankruptcy Code.” Id. at 20, Article IX.

        11.    At the time SkyFuel filed for bankruptcy, EERE had contributed approximately

 $350,000 towards the Project, and SkyFuel has contributed approximately $95,000 towards the

 Project. SkyFuel has not informed DOE (or EERE) about its intentions with respect to the

 Assistance Agreement, nor has SkyFuel sought authorization to continue the Project under new

 ownership.

                                          OBJECTION

        12.    Prior to confirming the Plan, “the Bankruptcy Court has an independent duty to

 ensure compliance with all confirmation standards [under section 1129 of the Bankruptcy Code].”



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 In re Autterson, 547 B.R. 372, 389 (Bankr. D. Colo. 2016). Under section 1129(a)(1), “[t]he court

 shall confirm a plan only if . . [t]he plan complies with the applicable provisions of this title” and

 “has been proposed in good faith and not by any means forbidden by law.” 11 U.S.C. §§

 1129(a)(1), (a)(3).

        13.     The Plan does not meet the requirements of these sections because the Plan (i)

 improperly seeks to eliminate the United States’ setoff and recoupment rights; (ii) contains

 overbroad exculpation and third-party release provisions; and (iii) purports to allow the assumption

 and assignment of the Assistance Agreement without complying with section 365 of the

 Bankruptcy Code and applicable non-bankruptcy law.

 I.   The Plan Improperly Seeks To Eliminate The United States’ Setoff and Recoupment
      Rights.

        14.     The Plan should not be confirmed because it seeks to discharge the United States’

 setoff and recoupment rights. The Plan provides:

                On the Effective Date, and without the need for further action, the
                Plan and Confirmation Order shall constitute a release and
                discharge of all actions, Causes of Action, claims, suits, debts,
                damages, judgments, liabilities, and demands whatsoever,
                whether matured or unmatured, whether at law or in equity, whether
                before a local, state, or federal court, state or federal administrative
                agency or commission, regardless of location and whether now
                known or unknown, liquidated or unliquidated, that the Debtor, the
                Estate, any Creditor, or any Person may have or be able to assert
                against: (i) the Debtor, its shareholders and affiliates, and their
                respective Representatives so long as such claims arise out of the
                ordinary course of duties; (ii) Akerman LLP and its Representatives,
                (iii) the UCC so long as such claims arise out of the ordinary course
                of duties, and (iv) Kutner Brinen, P.C., and its Representatives,
                solely for any actions or inactions taken by the foregoing in, or
                arising against the following as a result of, the Bankruptcy Case, the
                Disclosure Statement, and the Plan, including with respect to the
                negotiation, execution, and delivery of any document or instrument
                in connection with the Plan. . . .

 ECF No. 308, at 18, Article XII.3, (emphasis added). The Plan defines “Causes of Action” broadly

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 to include “rights of set-off” and “counterclaims and crossclaims.” Id. at 7, Article I.19. The Plan

 further provides:

                   Except as otherwise expressly provided for in the Plan or in
                   obligations issued pursuant to the Plan, all Parties and Entities are
                   permanently enjoined, on and after the Effective Date, on
                   account of any Claim or Equity Interest, from: . . . (d) asserting
                   any right of setoff or subrogation of any kind against any
                   obligation due from the Debtor’s Estate, the Reorganized
                   Debtor, or their successors and assigns, or against any of their
                   assets and properties, except to the extent a right to setoff or
                   subrogation is asserted with respect to a timely Filed proof of Claim
                   ....

 Id. at 23, Article XII.5. Thus, the United States’ rights of setoff and recoupment (to the extent

 recoupment is captured by the broad definition of “Causes of Action”) are purportedly discharged

 on the Effective Date.

          15.      The Tenth Circuit has held that a discharge in bankruptcy does not bar a creditor

 from asserting its right to setoff. In re Davidovich, 901 F.2d 1533, 1539 (10th Cir. 1990). 3 To the

 contrary, “the right to assert a setoff against a mutual, prepetition debt owed the bankrupt estate

 survives even the Bankruptcy Court’s discharge of the bankrupt’s debt.” Id.; United States v.

 Myers (In re Myers), 362 F.3d 667, 672 (10th Cir. 2004) (holding that section 553 of the

 Bankruptcy Code “preserves setoff rights that might otherwise exist under federal or state law”).

          16.      A creditor with an independent right to setoff establishes a right to setoff under

 section 553 by satisfying three elements:

            (1)    “First, the creditor must owe a debt to the debtor that ‘arose before the
                   commencement of’ the bankruptcy proceedings”;



 3
   See also I.R.S. v. Luongo (Matter of Luongo), 259 F.3d 323, 333 (5th Cir. 2001) (holding that a discharge in
 bankruptcy “does not bar a creditor from asserting its right to setoff”); U.S. v. Munson, 248 B.R. 343, 345 (C.D. Ill.
 2000) (discussing circuit split but concluding that setoff rights survived discharge); In re Bare, 284 B.R. 870, 873-74
 (Bankr. N.D. Ill. 2002) (adopting Munson); In re Ronnie Dowdy, Inc., 314 B.R. 182, 188 (Bankr. E.D. Ark. 2004)
 (concluding that setoff rights survived discharge).


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            (2)    “Second, the creditor must have a claim against the debtor that ‘arose before
                   the commencement of’ the bankruptcy proceedings”; and

            (3)    “Third, the creditor’s and debtor’s obligations must be mutual.”

 Myers, 362 F.3d at 672 (quoting 11 U.S.C. § 553) (citing cases).

          17.      Importantly, none of these three elements require a party to assert the setoff rights

 in a bankruptcy case. See In re Davidovich, 901 F.2d at 1539 (holding that (i) “filing of a proof of

 claim is not a prerequisite to assertion of a right to setoff under 11 U.S.C. § 553” and (ii) “a

 discharged debt may be setoff upon compliance with the terms and conditions stated in section

 553 of the Code”). 4

          18.      Similarly, recoupment is unaffected by a discharge in bankruptcy. Beaumont v.

 Dep’t of Veteran Affairs (In re Beaumont), 586 F.3d 776 (10th Cir. 2009); City of Fort Collins v.

 Gonzales (In re Gonzales), 298 B.R. 771, 773 (Bankr. D. Colo. 2003) (“Where a party has a valid

 right of recoupment, that right is unaffected by the debtor’s discharge.”); see also Megafoods

 Stores v. Flagstaff Realty Assocs. (In re Flagstaff Realty Assocs.), 60 F.3d 1031, 1035 (3d Cir.

 1995) (holding that recoupment survives discharge following confirmation and implementation of

 chapter 11 plan even if creditor did not object to plan or seek a stay pending appeal); Saif Corp. v.

 Harmon (In re Harmon), 188 B.R. 421, 425 (B.A.P. 9th Cir. 1995) (“Because recoupment only

 reduces a debt as opposed to constituting an independent basis for a debt, it is not a claim in

 bankruptcy, and is therefore unaffected by the debtor’s discharge.”).

          19.       SkyFuel must comply with the terms of its Assistance Agreement and the federal

 law incorporated thereunder, including payment of all amounts due for each Budget Period to the



 4
  To the extent relevant, equitable considerations should also permit the United States to preserve its setoff rights, as
 SkyFuel has provided DOE with little to no information with respect to its performance under the Assistance
 Agreement, essentially limiting DOE’s ability to evaluate the Project’s progress (if any) and any outstanding
 amounts owed.

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 extent DOE determines such amounts are owed. Because the Debtor submitted no Corrective

 Action Plan and failed to continue performing under the Assistance Agreement, all of which is

 necessary for DOE to determine whether any amounts may be owed under the Assistance

 Agreement, the United States is concerned that it may later discover the existence of a prepetition

 claim about which it was not aware during the pendency of this case. If this occurs, the United

 States will be unable to file a timely proof of claim or otherwise assert the claim in this bankruptcy

 case.

          20.    The United States therefore objects to confirmation of the Plan because Tenth

 Circuit authority is clear that the setoff and recoupment rights for undetermined prepetition claims

 must be preserved.

II.      The Plan Contains Improper and Overbroad Exculpation and Release Provisions.

          21.    Section 524(e) provides that the discharge of a debt “does not affect the liability of

 any other entity on, or the property of any other entity for, such debt.” 11 U.S.C. § 524(e). The

 Plan’s exculpation and third-party releases violate section 524(e).

          22.    Exculpation and third-party releases must be “limited to acts taken solely in

 connection with the Chapter 11 case” during the post-petition period. In re Midway Gold US, Inc.,

 575 B.R. 475, 511 (Bankr. D. Colo. 2017); see also In re Vitro SAB De CV, 701 F.3d 1031, 1059

 (5th Cir. 2012) (“[A] non-consensual, non-debtor release through a bankruptcy proceeding, is

 generally not available under United States law.”); In re Fraser’s Boiler Service, Inc., 593 B.R.

 636, 640 (Bankr. W.D. Wash. 2018) (exculpation only for “limited post-petition acts and

 omissions related to this bankruptcy case”).

          23.    The “Exculpation” provision in Article XII.3 is not limited to acts or omissions

 related to the bankruptcy case. Rather, the Plan releases and discharges “all actions, Causes of



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 Action, claims, suits, debts, damages, judgments, liabilities, and demands whatsoever” that “any

 Creditor” or “any Person” may have or be able to assert against SkyFuel, any of its affiliates or

 “Representatives,” and other third parties “as long as such claims arise out of the ordinary course

 of duties” during the course of the bankruptcy with exceptions for gross negligence, fraud, and

 intentional acts.     ECF No. 308, at 18, Article XII.3.               The definition of “Person” includes

 “governments, agencies or political subdivisions thereof,” and the definition of “Representative”

 includes the representatives of “any Entity.” Id. at 10-11, Article I.50 and Article I.62.

         24.      The “Third Party Releases” in Article XII.4 are equally problematic. That section

 provides that “all Releasing Parties shall be deemed to have forever released, waived and

 discharged all Causes of Action and any other debts, obligations, rights, suits, damages, actions,

 remedies and liabilities whatsoever”—including “violations of federal or state securities laws”—

 against the “Debtor and Released Parties” if such claims and liabilities are “in any way related to

 the Debtor, the Bankruptcy Case, or the Plan. Id. at 23, Article XII.4. “Releasing Party” is defined

 as any “holder of a Claim,” and “Claim” is defined under section 101(5) of the Bankruptcy Code. 5

         25.      These provisions, incorporating these overbroad definitions, could prohibit the

 United States from asserting any claim or demand against innumerable and/or unnamed non-

 debtors (e.g., breach of contract, setoff and recoupment rights, or police and regulatory liability)

 – even if these parties committed illegal acts wholly unrelated to the bankruptcy. Such prohibition

 is not permitted under the Bankruptcy Code, and these provisions must be removed prior to

 Confirmation.




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   The Plan allows holders of Claims to “opt-out” of the Third Party Releases; however, the United States received a
 ballot for general unsecured creditors and those voting for or against the Plan. The United States is not a general
 unsecured creditor and does not intend to vote for or against the Plan, so this “opt-out” process was arguably
 inapplicable to the United States.

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III.     The Plan Improperly Allows the Assumption and Assignment of the Assistance
         Agreement without DOE’s Authorization.

          26.    The Plan indicates that SkyFuel intends to assume any executory contract that it did

  not previously assume or reject under section 365 of the Bankruptcy Code, and that the entry of

  the Confirmation Order “shall constitute approval of such assumptions, and assumptions and

  assignments, pursuant to Sections 365(a) and 1123 of the Bankruptcy Code.” ECF No. 308, at 20,

  Article IX.

          27.    This language suggests that upon entry of the Confirmation Order, SkyFuel – under

  completely new ownership – will be permitted to assume and assign the Assistance Agreement

  without first obtaining DOE’s consent. That should not be permitted under the Plan for two

  reasons.

          28.    First, section 365(b) of the Bankruptcy Code bars SkyFuel from assuming the

  Assistance Agreement unless SkyFuel: (a) cures all existing defaults or provides adequate

  assurance of a prompt cure; (b) compensates the non-debtor party for actual pecuniary losses or

  provides adequate assurance that such compensation will be promptly made; and (c) provides

  adequate assurance of future performance under the contract or lease. 11 U.S.C. § 365(b)(1)(A)-

  (C).

          29.    Notwithstanding the boilerplate language in the Plan, see ECF No. 308, Article IX,

  SkyFuel has not provided any indication that it intends to assume the Assistance Agreement, nor

  has it provided any “adequate assurance of future performance” under that agreement, such as its

  assurance that it will comply with “DOE Assistance Regulations,” including but not limited to 2

  C.F.R. part 200 as amended by 2 C.F.R. part 910.         See Exhibit 1, at 4 (Special Terms and

  Conditions).

          30.    These regulations require, inter alia, SkyFuel to obtain DOE’s authorization for

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  any change of control if SkyFuel wishes to continue with the Project. 2 CFR § 910.368. SkyFuel

  has yet to do this, and its assumption of the Assistance Agreement under the Plan should be denied.

  See In re Tabernash Meadows, Ltd. Liab. Co., 2005 Bankr. LEXIS 210, at *25 (Bankr. D. Colo.

  Feb. 15, 2005) (“[I]f an executory contract is assumed, it is said to be assumed cum onere, with all

  of its benefits and burdens. An executory contract cannot be assumed in part and rejected in part.”)

  (citing cases) (internal quotation marks omitted); In re Mount Carbon Metro. Dist., 242 B.R. 18,

  38 (Bankr. D. Colo. 1999) (“In a bankruptcy context, if the District does not assume both the

  benefits and burdens of an executory contract, it cannot assume it. If a contract is not expressly

  assumed, it is rejected.”).

          31.     Second, under section 365(c)(1)(A), SkyFuel “may not assume or assign any

  executory contract or unexpired lease . . . if applicable law excuses such a party, other than the

  debtor, to such a contract or lease from accepting performance from or rendering performance to

  any entity other than the debtor or the debtor in possession.” 11 U.S.C. § 365(c)(1)(A). The goal

  of section 365(c)(1) is to “protect non-debtor third parties whose rights may be prejudiced by

  having a contract performed by an entity other than the one with which it originally contracted,

  but the exception is limited to cases where non-bankruptcy law so states.” C.O.P. Coal Dev. Co.

  v. C.W. Mining Co. (In re C.W. Mining Co.), 422 B.R. 746, 761 (B.A.P. 10th Cir. 2010) (internal

  quotation marks omitted).

          32.     Here, at least two applicable laws – including the regulation cited above – prohibit

  the assumption and assignment of the Assistance Agreement without DOE’s consent. See 2 CFR

  § 910.368(d) (incorporated into the terms of the Assistance Agreement: “The contracting officer

  must authorize a change of control for the purposes of the award. Failure to receive the contracting

  officer’s authorization for a change of control may lead to a suspension of the award, termination



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  for failure to comply with the terms and conditions of the award, or imposition of special award

  conditions pursuant to 2 CFR 910.372.”); 41 U.S.C. § 15 (“ No contract or order, or any interest

  therein, shall be transferred by the party to whom such contract or order is given to any other party,

  and any such transfer shall cause the annulment of the contract or order transferred, so far as the

  United States is concerned.”).

          33.    For these reasons, the United States does not consent to the assumption, or the

  assumption and assignment, of the Assistance Agreement without compliance with section 365 of

  the Bankruptcy Code and applicable federal law, as incorporated into the terms of the Agreement.

                                            CONCLUSION

          For the foregoing reasons, the United States asks the Court to deny confirmation of the

  Plan.


     DATED: March 9, 2021
                                                 Respectfully submitted,

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                                                 District of Colorado

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                                   CERTIFICATE OF SERVICE

         On March 9, 2021, I submitted the foregoing document using the electronic case filing

  system of the Court. I hereby certify that I have served all parties electronically or by another

  manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                /s/ Tiffiney F. Carney
                                                Tiffiney F. Carney
                                                Trial Attorney




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